       Case 6:20-cv-01163-MK      Document 211   Filed 10/16/23   Page 1 of 8




Robert E. Franz, Jr.     OSB #730915
E-Mail: rfranz@franzlaw.comcastbiz.net
LAW OFFICE OF ROBERT E. FRANZ, JR.
P.O. Box 62
Springfield, OR 97477
Telephone: (541) 741-8220
 Attorneys for Mark Dannels, Pat Downing, Kris Karcher, Shelly McInnes,
 Raymond McNeely, Kip Oswald, Michael Reeves, Sean Sanborn,
 Eric Schwenninger, Chris Webley, Anthony Wetmore, Craig Zanni,
 David Zavala, City of Coquille, City of Coos Bay, Coos County, Oregon,
 and the Estate of David E. Hall


                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF OREGON

                                 EUGENE DIVISION

Nicholas James McGuffin,
as an individual and as guardian             Case No. 6:20-cv-01163-MK
ad litem, on behalf of S.M., a minor,
                   Plaintiffs,               Response to Plaintiffs’ Motion
             v.                              to Modify Subpoena to Shaun
Mark Dannels, Pat Downing, Susan             McCrea by Municipal Defendants
Hormann, Mary Krings, Kris Karcher,
Shelly McInnes, Raymond McNeely,
Kip Oswald, Michael Reaves, John
Riddle, Sean Sanborn, Eric Schwenninger,
Richard Walter, Chris Webley, Anthony
Wetmore, Kathy Wilcox, Craig Zanni,
David Zavala, Joel D. Shapiro as
Administrator of the Estate of David
E. Hall, Vidocq Society, City of Coquille,
City of Coos Bay, and Coos County,
                   Defendants.




Page 1 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
       Case 6:20-cv-01163-MK      Document 211      Filed 10/16/23   Page 2 of 8




Nicholas James McGuffin, as an                        Case No. 3:21-cv-01719-MK
Individual and as guardian ad litem,                  (Trailing Case)
on behalf of S.M., a minor,
              Plaintiffs,
      v.
Oregon State Police,
              Defendant.


      COME NOW Defendants Mark Dannels, Pat Downing, Kris Karcher,
Shelly McInnes, Raymond McNeely, Kip Oswald, Michael Reeves, Sean Sanborn,
Eric Schwenninger, Chris Webley, Anthony Wetmore, Craig Zanni, David Zavala,
Joel D. Shapiro as Administrator of the Estate of David E. Hall, City of Coquille,
City of Coos Bay, and Coos County, Oregon (Municipal Defendants), by and
through their attorneys, the Law Office of Robert E. Franz, Jr., and for response to
the Plaintiffs’ Motion to Modify the Subpoena to Shaun McCrea hereby respond
as follows.
I. Introduction.
     It needs to first be noted that in the initial disclosures of the Plaintiffs, Shaun
McCrea is listed as a witness and person that has discoverable information and a
person that the Plaintiffs “may use to support its claims or defenses” as follows:
     Shaun McCrea
     Oregon Criminal Defense Lawyers Association
     101 E 14th Ave
     Eugene OR 97401
     541 686-8716
     smccrea@ocdla.org

     Ms. McCrea likely has discoverable information regarding to
     circumstances and scope of Defendants’ investigation, evidence
     collection, discovery production, Brady compliance, and violations of
     McGuffin’s constitutional rights.


Page 2 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
       Case 6:20-cv-01163-MK      Document 211    Filed 10/16/23   Page 3 of 8




The topics listed for Ms. McCrea are very broad and all-encompassing and contain
no limitations or assertions of any privileges limiting her testimony or discoverable
information.
      In addition, Ms. McCrea has given a deposition in the post-conviction
proceeding; thus, as to each topic discussed in that deposition, the Plaintiffs have
waived the attorney/client privilege and any work product privilege.
      Finally, in the post-conviction proceedings, Plaintiff Nicholas McGuffin
took the position that Robert and Shaun McCrea committed malpractice and that is
why he was convicted. That contention opened the door to all communications
between Mr. McGuffin and his attorneys.
II. The Plaintiffs are not being Asked to Produce Any Documents.
      The first objection by Plaintiff Nicholas McGuffin is the argument that the
Plaintiffs’ attorneys have produced to the Defendants all the documents they have
received from Shaun McCrea except for the work product of Shaun McCrea and
correspondence between Robert and Shaun McCrea and Nicholas McGuffin. Such
an argument is irrelevant.
      The Defendants are not seeking any documents in the possession of the
Plaintiffs. The Plaintiffs don’t have to produce anything and there is no burden
placed upon the Plaintiffs to produce anything. The subpoena has been issued to
Shaun McCrea, the person that has the sole control over the files of Shaun and
Robert McCrea. Shaun McCrea has not filed any motions or objections against the
Subpoena; and she has no objections to producing the documents requested by the
Subpoena.
      Defendants do not have to take the word of the Plaintiffs’ attorneys that the
entire file of Shaun and Robert McCrea have been produced to the Defendants
through the Plaintiffs. There is no declaration from Shaun or Robert McCrea that
their entire files have been produced to the Plaintiffs. Further, Shaun McCrea

Page 3 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
       Case 6:20-cv-01163-MK     Document 211     Filed 10/16/23   Page 4 of 8




would not know what portions of the files they produced to the Plaintiffs have in
fact been given to Defendants. We know that not all the files of Robert and Shaun
McCrea have been produced to Defendants, because the Plaintiffs’ attorneys admit
they have not given the entire files of Shaun and Robert McCrea to the Defendants.
      Further, no one, except for the Plaintiffs’ attorneys, know what documents
have in fact been withheld. The McCreas don’t know. The Court does not know.
The Defendants do not know. The privilege log does not suffice to show exactly
what documents have been withheld or what information the withheld documents
provide. The only way anyone can verify the fact that only allowable privileged
documents have been properly withheld is for the Court or a Special Master to
review the actual documents themselves and advise the parties as to what has been
withheld. In other words, even if the Court allows the withholding of documents
from the files of Robert and Shaun McCrea, the Defendants are entitled to a
“second set of eyes” on all withheld documents to confirm that only proper
documents have been withheld.
III. All Documents, Privileged or Otherwise, Relating to the issues in this case
are Discoverable.

      The Plaintiffs are contending in this case, among other things, that Mr.
McGuffin was and is innocent of the crimes for which he was convicted; that
“There was no physical evidence or evidence of motive connecting McGuffin to
Freeman’s abduction or murder;” that evidence available at the time, including
witness statements and physical evidence made it obvious that McGuffin was
innocent; and that Defendants deliberately fabricated evidence against Mr.
McGuffin; that Defendants convinced Mr. McGuffin to participate in a polygraph
test which he passed but then was told by the police that he failed; and that the
conduct of the Defendants was negligence.



Page 4 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
       Case 6:20-cv-01163-MK       Document 211     Filed 10/16/23   Page 5 of 8




      It is the Defendants’ position that if in fact there was a wrongful conviction
of Mr. McGuffin, the cause of that conviction was because of the malpractice of his
criminal defense attorneys, not with the failure of the Defendants to produce
documents or evidence to Robert or Shaun McCrea during discovery in the
criminal matter. In addition, even though the Plaintiffs’ attorneys contend the
Defendants were negligent in the investigation of the criminal case, the truth of the
matter is that if there was any negligence in this case, it was the negligence of Mr.
McGuffin and the McCreas in their investigation of the case and the presentation
of their case to the jury, together with their decision not to call certain witnesses.
To prove this malpractice and negligence, Defendants are entitled to know all
information supplied to Shaun and Robert McCrea by anyone, including what
information was supplied to them by Mr. McGuffin. This information includes all
communications between the McCreas and McGuffin about evidence, witnesses,
and what Mr. McGuffin told them about what McGuffin did on the days in
question. It also includes: (1) What information Mr. McGuffin gave to Robert and
Shaun McCrea about what investigation was needed, what witnesses needed to be
contacted or interviewed, and what evidence needed to be found or asked for from
the Defendants, including the District Attorney; (2) what witnesses or events gave
Mr. McGuffin an alibi; (3) what witnesses knew who killed Leah Freeman or had
information about her or Mr. McGuffin; (4) why Mr. McGuffin did not testify and
who made the decision that he was not to testify; (5) whether or not certain
witnesses should testify, like McGuffin’s mother and father; (6) what information
was provided by Mr. McGuffin about his killing Ms. Freeman; (7) what Mr.
McGuffin said about the fact that McGuffin failed the polygraph examination; (8)
why didn’t Mr. McGuffin take a second polygraph test as offered by the District
Attorney; (9) any accusations by anyone including McGuffin that his criminal
defense attorneys were not doing their job or not working hard enough; (10)

Page 5 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
       Case 6:20-cv-01163-MK     Document 211     Filed 10/16/23   Page 6 of 8




statements and information exchanged about the timeline McGuffin gave to the
police and the timelines he gave to his attorneys; and (11), all information that was
withheld from the police, the grand jury, the jury, and/or the District Attorney and
why.
       Since suppression by the Government is a necessary element of
       a Brady claim, Moore v. Illinois, 408 U.S. 786, 794–95, 92 S.Ct. 2562,
       2567–68, 33 L.Ed.2d 706 (1972), if the means of obtaining the exculpatory
       evidence has been provided to the defense, the Brady claim fails. See United
       States v. Shelton, 588 F.2d 1242, 1250 (9th Cir.1978); United States v.
       Brown, 562 F.2d 1144, 1151 (9th Cir.1977). See also United States v. Von
       Brandy, 726 F.2d 548, 551 (9th Cir.1984) (summaries of data
       satisfied Brady obligation); United States v. Griffin, 659 F.2d 932, 939 (9th
       Cir.1981). The Eleventh Circuit has expressed this rule succinctly, in
       rejecting a Brady argument based on failure to disclose the statement of a
       witness, since the prosecution disclosed the identity of the witness; “Where
       defendants ... had within their knowledge the information by which they
       could have ascertained the supposed Brady material, there is no suppression
       by the government.” United States v. Griggs, 713 F.2d 672, 674 (11th
       Cir.1983). See United States v. Brown, 582 F.2d 197, 200 (2d Cir.), cert.
       denied, 439 U.S. 915, 99 S.Ct. 289, 58 L.Ed.2d 262 (1978). As Justice
       White has said, “any allegation of suppression boils down to an assessment
       of what the State knows at trial in comparison to the knowledge held by the
       defense.” Giles v. Maryland, 386 U.S. 66, 96, 87 S.Ct. 793, 808, 17 L.Ed.2d
       737 (1967) (White, J., concurring). See United States v. Cravero, 545 F.2d
       406, 420 (5th Cir.1976); United States v. Grandmont, 680 F.2d 867, 873 (1st
       Cir.1982).

       United States v. Dupuy, 760 F.2d 1492, 1502 (9th Cir. 1985).

       Remember, to prevail on a Brady claim, Mr. McGuffin must prove that he
and his attorneys lacked knowledge or information of the evidence that they claim
was fabricated or withheld from them. That is, there is no Brady claim if
McGuffin and/or the McCreas knew of the undisclosed witnesses or evidence; nor
is there a claim if they could have gotten the information for another source.



Page 6 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
        Case 6:20-cv-01163-MK     Document 211     Filed 10/16/23   Page 7 of 8




       No Brady violation occurred here because Brady does not require the
       government to turn over exculpatory evidence “if the defendant knew or
       should have known the essential facts permitting him to take advantage of
       any exculpatory evidence.” United States v. Gaggi, 811 F.2d 47, 59 (2
       Cir.), cert. denied, 107 S.Ct. 3214 (1987). The rationale for our rule is
       that Brady is designed to “assure that the defendant will not be denied access
       to exculpatory evidence only known to the Government.” United States v.
       LeRoy, 687 F.2d 610, 619 (2 Cir.1982) (emphasis added), cert. denied, 459
       U.S. 1174 (1983). Accordingly, the government had a duty to disclose only
       “information which had been known to the prosecution but unknown to the
       defense.” United States v. Agurs, 427 U.S. 97, 103 (1976). The government
       has no duty actually to turn over grand jury testimony where the defendant
       knows of the witness' identity; that the witness “might have testified before
       the grand jury”; and that “[the witness'] statements might have supported
       [the defendant's] defense.” LeRoy, supra,687 F.2d at 619.

       United States v. Grossman, 843 F.2d 78, 85 (2d Cir. 1988).

       In this case, Plaintiff McGuffin waived the attorney-client privilege and any
work product as to the subject matter of which involved the allegedly withheld
information and evidence. McGuffin waived all privileges relating to any
documents relating to his proof of the claims made by the Plaintiffs in this case,
and the proof Defendants need to establish their contentions against the Plaintiffs
in this case.
       Finally, Plaintiff McGuffin has waived all privileges related to all of the
disclosures made by him or the McCreas in the post-conviction proceeding, which
include McGuffin’s contention that his attorneys committed malpractice. This
includes all disclosures made and raised in the General Judgment of the post-


//


/



Page 7 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
       Case 6:20-cv-01163-MK   Document 211    Filed 10/16/23   Page 8 of 8




conviction proceedings in case 15CV1030, a copy of which is attached hereto as
Exhibit 101.

      DATED: October 16, 2023.

                               Respectfully submitted,


                        By:    /s/ Robert E. Franz, Jr.
                               LAW OFFICE OF ROBERT E. FRANZ, JR.
                               Robert E. Franz, Jr.
                               OSB #730915
                               (541) 741-8220
                               Of Attorneys for Defendants Mark Dannels,
                               Pat Downing, Kris Karcher, Shelly McInnes,
                               Raymond McNeely, Kip Oswald, Michael
                               Reeves, Sean Sanborn, Eric Schwenninger,
                               Chris Webley, Anthony Wetmore, Craig Zanni,
                               David Zavala, and City of Coquille, City of
                               Coos Bay, Coos County, Oregon, and the
                               Estate of David E. Hall




Page 8 of 8 – Response to Plaintiffs’ Motion to Modify Subpoena
